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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                 8:06CR19
                                              )
LETICIA BARRIENTOS,                           )                  ORDER
                                              )
                    Defendant.                )




       Before the court is the defendant’s unopposed Motion to Continue Plea Hearing
[89]. Good cause being shown, the motion will be granted and the Change of Plea
Hearing will be rescheduled.

      IT IS ORDERED that the Motion to Continue Plea Hearing [89] is granted. The
Change of Plea Hearing is continued to July 6, 2006 at 10:00 a.m. before Magistrate
Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska.

       For this defendant, the time between June 19, 2006 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 21st day of June, 2006.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
